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                EXHIBIT




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(.48#                                       '/!<IFTWETZ!)'(0!(.1'+
)5#                                         "9IIP#!@ETN"2!"[ELIT%QEPPRWT5HIQVRQU%GRP"2!8EPITRQ!9ROIZ2!?EYTIQGI!
                                            ARTVLPRTI$7EOO
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$88*,/3.487#                                ;XEOWEVMRQ!<RTP!!;>!VR!SETVMIUDJMOOEFOI!JRTP%SHJ


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6MJJMUHLF!RGD!@NNJHB@RHML!ME!2PRHBJD!+.#-$!ME!RGD!9SJDQ%!RGD!BJ@HKQ!@PD!BMLQHCDPDC!UHRGCP@UL!@Q!ME!+)!8@LS@PW!*()0'!
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<GDPDEMPD%!UD!UHJJ!BJMQD!RGHQ!@PAHRP@RHML'!<GD!=;"!,!(((!EHJHLF!EDD!N@HC!AW!3J@HK@LR!HQ!LML&PDESLC@AJD!#2PRHBJD!)#)$!ME!
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BMPPDQNMLCDLBD'!7E!@!N@PRW!MP!@L!@PAHRP@RMP!CMDQ!QM%!UD!UHJJ!@QI!RGD!PDOSDQRHLF!N@PRW!MP!@PAHRP@RMP!RM!N@W!@JJ!PDJ@RDC!
BMQRQ!@LC!DVNDLQDQ'!4HQASPQDKDLRQ!HL!BMLLDBRHML!UHRG!@CCHRHML@J!QDPTHBDQ!K@W!@JQM!AD!BG@PFDC!RM!RGD!N@PRHDQ'!!
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2Q!RGD!3MSPR!QRPHTDQ!RM!HKNPMTD!HRQ!QDPTHBDQ%!UD!HLTHRD!WMS!RM!BMKNJDRD!RGD!DLBJMQDC!5T@JS@RHML!6MPK!UGHBG!UD!
DLBMSP@FD!WMS!RM!BMKNJDRD!DJDBRPMLHB@JJW!@LC!RM!PDRSPL!HR!RM!DT@JS@RHML'@PA1HBBUAM'MPF'!?MSP!PDQNMLQDQ!UHJJ!AD!IDNR
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OG!SIF!<OSF!EBSFE!)!;BNTBQW!*()1'!!
7LFDSQONJD!DOMMTNJDBSJONR2!=LFBRF!RFNE!WOTQ!DOQQFRPONEFNDF!BNE!BNW!EODTMFNSR!ONLW!FLFDSQONJDBLLW'!
?IJR!MFRRBHF!JR!DONGJEFNSJBL'!9G!WOT!IBUF!QFDFJUFE!SIJR!MFRRBHF!JN!FQQOQ%!PLFBRF!EFLFSF!JS!BNE!NOSJGW!SIF!RFNEFQ!JMMFEJBSFLW'!AOT!RIOTLE!NOS!QFSBJN!
SIF!MFRRBHF!OQ!EJRDLORF!JSR!DONSFNSR!SO!BNWONF'!

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                                                                                          CASE N° ____________________


   EVALUATION FORM )% &"')$#(


   Name of the person who fills this form:
   Company or firm name (where applicable):

   Role in the arbitration: Please choose an answer


    Please rank your answers according to your degree of satisfaction as follows:
    1: very poor
    2: poor
    3: satisfactory
    4: good
    5: excellent


   Contact with the Secretariat
   In your contact with the Secretariat, have you found the persons handling your file:

    Please choose an answer                    Helpful

    Please choose an answer                    Available

    Please choose an answer                    Well informed "#$&% the file

    Please choose an answer                    Reliable

    Please choose an answer                    Polite

   Add any comments if necessary:




   Financial Aspects
   Taking account of the amount in dispute, the complexity of your case and the number of
   arbitrators, how would you rank the cost/benefit ratio of an ICC arbitration procedure as compared
   with:

    Please choose an answer                    Court procedures

    Please choose an answer                    Ad hoc arbitration

    Please choose an answer                    Arbitration administered by other institutions

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                                                                          ID |#:676
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   Financial Aspects (continued)

    Please choose an answer                    Taking account of the amount in dispute and the complexity of
                                               your case, how would you rank the amount of the ICC
                                               L\MT^\L^TYX NY]^] $?88 LOWTXT]^\L^T`P PbZPX]P]& L\MT^\L^Y\]g
                                               fees and expenses) as compared with the total costs incurred
                                               for the proceedings?
    Please choose an answer                    Taking account of the amount in dispute and the complexity of
                                               your case, how would you rank the amount of the ICC
                                               administrative expenses as compared with the total costs
                                               incurred for the proceedings?
    Please choose an answer                    Taking account of the amount in dispute and the complexity of
                                               your case, how would You rank the amount of the ICC
                                               administrative expenses as compared with the legal and
                                               other costs (i.e. in-house counsel, experts, etc.)?

   Add any comments if necessary:




   Speed
   How would you assess the speed of the following stages of the procedure:

    Please choose an answer                    Request for arbitration to the transmission of the file
                                               to the arbitral tribunal
    Please choose an answer                    Drafting of the Terms of Reference

    Please choose an answer                    Drafting of the award(s)

   Add any comments if necessary:




   Arbitral Tribunal

    Please choose an answer                    How would you evaluate the overall performance of the
                                               arbitral tribunal?

   Add any comments if necessary:




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                                                                          ID |#:677
                                                                               3



   Overall satisfaction

    Please choose an answer                     How would you rank the overall quality of the service as
                                                compared to that offered by other institutions?


   Would you put an ICC arbitration clause in your contract today?

        Yes            No

   Add any comments if necessary:




   General information
   In how many ICC arbitrations have you already participated, excluding this case?



   Do you generally submit your disputes to:

        Mediation/conciliation
        Ad hoc arbitration
        Institutional arbitration
              ICC
              Other institution (please specify):

        Court proceedings

   Other forms of dispute resolution (please specify):




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                                                                          ID |#:678
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   Comments, observations and suggestions are welcome on any aspect of the ICC arbitration
   system. (Please use extra sheet(s) if necessary.)




   Use one of the following options to sign the document:
   1) Copy your signature from a Word document and paste it in this form.
   2) Draw your ink signature (click here for further assistance).
   3) Add your electronic signature.
   4) Print the form, sign it and scan it.

   Date:                                                               Signature:

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    Disclaimer: The information requested in this form will be considered by the ICC for its Dispute Resolution Services, and will be
    stored in case management database systems. Pursuant to the French Law on "Informatique et Libertés" of 6 January 1978,
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